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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



 UMG RECORDINGS, INC. et al,

                        Plaintiffs,
                                                      Civil Action No. 19-17272 (MAS) (TJB)
                        v.
                                                                     ORDER
 RCN TELECOM SERVICES, LLC et al.,

                        Defendants.


        This matter comes before the Court on two Motions to Dismiss Counterclaim. The first is

 Plaintiffs UMG Recordings, Inc.; Capitol Records, LLC; Sony Music Entertainment; Arista

 Records LLC; Arista Music; LaFace Records LLC; Sony Music Entertainment US Latin LLC;

 Volcano Entertainment III, LLC; Zomba Recording LLC; Atlantic Recording Corporation; Bad

 Boy Records LLC; Elektra Entertainment Group Inc.; Fueled By Ramen LLC; Maverick

 Recording Company; The All Blacks U.S.A., Inc.; Warner Music Nashville LLC; Warner Records

 Inc.; Warner Records/Sire Ventures, Inc.; WEA International Inc.; and Counterclaim Defendant

 Recording Industry Association of America’s (“RIAA”) (collectively “Industry Plaintiffs”)

 Motion to Dismiss Counterclaim. (ECF No. 174.) Defendants RCN Telecom Services, LLC; RCN

 Telecom Services of New York, L.P.; RCN Capital Corp.; RCN Telecom Services of Philadelphia,

 LLC; RCN Telecom Services of Massachusetts, LLC; Starpower Communications, LLC; RCN

 Management Corporation; RCN ISP, LLC; RCN Digital Services, LLC; RCN NY LLC 1; RCN

 Telecom Services (Lehigh), LLC; RCN Telecom Services of Illinois, LLC; 21st Century Telecom

 Services, Inc.; and RCN Cable TV of Chicago, Inc. (collectively “Internet Providers”) opposed

 (ECF No. 183), and Industry Plaintiffs replied (ECF No. 187).
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        The second motion is Counterclaim Defendant Rightscorp, Inc.’s (“Rightscorp”) Motion

 to Dismiss Counterclaim. (ECF No. 175.) Internet Providers opposed (ECF No. 183), and

 Rightscorp replied (ECF No. 186). The Court has carefully considered the parties’ submissions

 and decides the matter without oral argument under Local Civil Rule 78.1. For the reasons stated

 in the accompanying Memorandum Opinion and for other good cause shown,

        IT IS, on this 29th day of April 2022, ORDERED as follows:

        1.     Rightscorp’s Motion to Dismiss (ECF No. 175) is GRANTED.

        2.     Industry Plaintiffs’ Motion to Dismiss (ECF No. 174) is GRANTED.

        3.     Internet Providers’ Amended Counterclaim against Rightscorp and Industry
               Plaintiffs (ECF No. 161) is DISMISSED WITH PREJUDICE.




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                                                            MICHAEL A. SHIPP
                                                            UNITED STATES DISTRICT J UDGE




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